






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00374-CV






Bryan Montalvo, Teresa Tracey and Jim Tracey, Appellants


v.


Roger Camp, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-07-002813, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I ON

												

		Appellants Bryan Montalvo, Teresa Tracey, and Jim Tracey ("the Traceys") sued
Elco&nbsp;Consolidated, LLC, the City of Lakeway, Jon Champeny, and appellee Roger Camp for various
causes of action arising from the alleged intentional destruction of a portion of the Traceys' driveway
by Elco Consolidated, LLC on the orders of Camp and from the City of Lakeway's refusal to permit
the Traceys to rebuild it.  The Traceys nonsuited Elco Consolidated, LLC and Jon Champeny.  The
trial court, in separate orders, granted summary judgment for Camp and the City of Lakeway.  In a
single issue on appeal, the Traceys argue that the trial court erred in granting summary judgment in
favor of Camp because questions of material fact exist as to whether the Traceys have a possessory
interest in the disputed land. (1)  After reviewing the record and considering the Traceys' briefing on
the issue of this Court's jurisdiction, we conclude that the trial court's order granting summary
judgment in favor of Camp did not dispose of all of the Traceys' claims against him.  Accordingly,
there is no final, appealable judgment.  We therefore lack jurisdiction over this appeal and will
dismiss it for want of jurisdiction.

		The Traceys asserted four claims against Camp:  (1) trespass, (2) intentional infliction
of emotional distress, (3) negligence, and (4) vicarious liability for the alleged trespass and
negligence of Elco Consolidated, LLC.  In his motion for summary judgment, Camp did not specify
on which of the Traceys' claims he was seeking summary judgment, nor is it readily apparent from
the body of the motion or the prayer ("Movants pray that the Court grant this Motion for Summary
Judgment&nbsp;.&nbsp;.&nbsp;.&nbsp;.").  Significantly, however, the motion relied solely on the assertion that the Traceys
had no property interest in the land on which the destroyed portion of their driveway was built, yet
it does not appear that the issue of whether the Traceys had an interest in the property is material to
all of the Traceys' claims against Camp.  See Western Invs., Inc. v. Urena, 162 S.W.3d 547, 550
(Tex. 2005) (elements of negligence are:  (1) legal duty owed by one person to another; (2) breach
of that duty; and (3) damages that are proximately caused by breach); Brewerton v. Dalrymple,
997&nbsp;S.W.2d 212, 215 (Tex. 1999) (elements of intentional infliction of emotional distress are:
(1)&nbsp;defendant acted intentionally or recklessly; (2) conduct was extreme and outrageous;
(3)&nbsp;defendant's actions caused plaintiff emotional distress; and (4) plaintiff's emotional distress
was&nbsp;severe).

		The trial court's order granting Camp's motion for summary judgment is similarly
unclear.  It states, in pertinent part, that:


Roger Camp . . . [is] entitled to summary judgment as a matter of law because there
are no genuine issues of material fact with respect to Plaintiffs' contention that
Plaintiff has [sic] a real property interest in the portion of driveway removed.


The Court FINDS that as a matter of law Plaintiffs possess no legally enforceable
property right to maintain a permanent improvement in the City's right of way.


Therefore, the court GRANTS the motion for summary judgment.



Thus, the order does not specify which claim or claims against Camp are being disposed of, nor can
we reasonably deduce which claim or claims the order intended to dispose of by reference to Camp's
motion for summary judgment because, as stated above, the motion is likewise unclear. 
Furthermore, the trial court's order contains neither a "Mother Hubbard" clause ("All relief
not&nbsp;expressly granted is denied.") nor a Lehmann statement, see Lehmann v. Har-Con Corp.,
39&nbsp;S.W.3d&nbsp;191, 206 (Tex. 2001) ("This judgment finally disposes of all parties and all claims and
is appealable."), either of which could have indicated that the trial court intended its order to dispose
of all of the Traceys' claims against Camp.	 

		Logically, the trial court's order appears to dispose only of the Traceys' trespass claim
against Camp, because having a possessory interest in the property at issue is an element of a trespass
claim.  See Coastal Oil &amp; Gas Corp. v. Garza Energy Trust, 268 S.W.3d 1, 10 (Tex. 2008) ("The
gist of an action of trespass to realty is the injury to the right of possession." (quoting Pentagon
Enters. v. Southwestern Bell Tel. Co., 540 S.W.2d 477, 478 (Tex. Civ. App.--Houston [14th Dist.]
1976, writ ref'd n.r.e.))).  As noted above, however, the Traceys' other causes of action against Camp
do not necessarily turn on the Traceys' property rights; therefore, the court's order, given its
ambiguity, cannot reasonably be construed to have disposed of those claims.

		Apart from certain types of interlocutory orders specified by statute, none of which
is presented here, this Court has jurisdiction only over appeals from final judgments.  See Lehmann,
39 S.W.3d at 195; see also Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014 (West 2008) (listing
appealable interlocutory orders).  A judgment, order, or series of orders amounts to a final judgment
when it (or they) dispose of all parties and all claims.  See Lehmann, 39 S.W.3d at 206.  "[W]hether
a judicial decree is a final judgment must be determined from its language and the record in the
case."  Id. at 195.  Because we conclude that the order granting summary judgment in favor of Camp
did not dispose of all of the Traceys' claims against him, it is not a final, appealable judgment. 
Consequently, this Court lacks jurisdiction over this appeal.  We therefore dismiss this appeal for
want of jurisdiction.



						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   April 28, 2010		
1.   The Traceys do not complain of the summary judgment rendered in favor the City of
Lakeway.


